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                                                                                        GENNARO SAVASTANO

VIA ECF                                                                                 RYAN AMATO
                                                      November 20, 2023                 DAVID A. BONILLA
                                                                                        UDEYVEER BRAR
The Honorable Rachel P. Kovner                                                          DANIEL BROCCO
United States District Court                                                            SAMANTHA MARIA CHASE
                                                                                        ANDREY DEMIDOV
Eastern District of New York                                                            TAYLOR FRIEDMAN^
225 Cadman Plaza East                                                                   MICHAEL GLUCK
                                                                                        ALBERT K. KIM*
Brooklyn, New York 11201                                                                ANDREW LEVINSON
                                                                                        MELISSA N. MAGILL
                                                                                        GINA NICASIO*
       Re:     Gomez v. Target Corporation                                              AGGELIKI E. NIKOLAIDIS
               No. 1 :23-cv-00846 (RPK) (LB)                                            JOSEPH PERRY
                                                                                        MARIE LOUISE PRIOLO*
                                                                                        MATTHEW RABINOWITZ *♦
Dear Honorable Judge Kovner:                                                            DAVID SULLIVAN
                                                                                        KEYONTE SUTHERLAND
                                                                                        MATT SWANSEN*
        I represent Plaintiff Johana Gomez in the above-captioned action. Please        JOJU THOMAS
                                                                                        FEJIR UGURLU
allow this correspondence to serve as Plaintiff’s request: 1) for an extension of her   BRIAN VANNELLA*
deadline to submit a response to Defendant Target Corporation’s letter, dated
                                                                                        Of Counsel:
November 13, 2023, requesting leave to make a summary judgment motion on the            BENJAMIN PINCZEWSKI
issue of liability (see Docket No. 24); and 2) for an order compelling Defendant to     DEVON REIFF
                                                                                        EVAN M. La PENNA
adequately identify and produce the evidence cited in Defendant’s Loc. Civ. R. 56.1
Statement.                                                                              * Also Admitted In New Jersey
                                                                                        ♦Also Admitted in Florida
                                                                                        ^ Also Admitted in Texas
        Plaintiff seeks the aforementioned extension in light of her inability to
provide a meaningful response to Defendant’s 56.1 statement. This inability is a result of
Defendant’s failure to annex, identify, or otherwise provide any of the exhibits referenced in its
56.1 statement (see Docket No. 24).

        Specifically, in its 56.1 statement and with respect to exhibit designations, Defendant only
goes so far as designating at least seventeen (17) items, for example, as: (Ex. “A”, ¶ 19), (Ex. M-
2”, 4:59:01 p.m.), (Ex. “Q”, p.14, 1.4-16), etc. However, Defendant at no point identifies the items
that have been designated as exhibits in its letter. Such identification is paramount herein given
that Defendant has not annexed any of the exhibits it references in its application to same.

        Additionally, Defendant cites to declarations of witnesses that have already appeared for
depositions; yet, Defendant has, admittedly, neither previously exchanged those declarations nor
provided them with their letter application. Since no such declarations have been produced in
discovery, Defendant’s reliance on such evidence would appear to violate Fed. R. Civ. P. 37(c)(1)
in addition to hindering Plaintiff’s ability to fairly respond to the pre-motion application because
Plaintiff’s counsel lacks knowledge of content of the referenced evidence.

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        In accordance with the Court’s Individual Practices, Plaintiff attempted to resolve this issue
in good faith with Defendant herein. Specifically, the undersigned contacted Defendant’s counsel
prior to the filing instant correspondence relaying Plaintiff’s intent to seek an order compelling
Defendant to provide copies of the exhibits cited in their 56.1 Statement. Defendant’s counsel
indicated that he would agree to provide a list of the proposed exhibits, all of which should be in
this office’s possession except for certain witness declarations. The undersigned responded that
to meaningfully respond to the 56.1 Statement, we would require the witness declarations, which
were not exchanged in discovery. The undersigned further requested consent for an enlargement
of time within which to respond to Defendant’s letter request and 56.1 Statement. The undersigned
still awaits Defendant’s response to this request.

        Based on the above, Plaintiff respectfully requests that Defendant be required to produce,
in addition to adequately identify, the exhibits cited in Defendant’s Rule 56.1 Statement and that
Plaintiff be granted a reasonable time to review and respond to the revised filing.

Very truly yours,


/s/ David A. Bonilla /s/


CC:    All parties via ECF.




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